                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     at CHATTANOOGA

 UNITED STATES OF AMERICA,                          )
                                                    )
                                                    )
                                                    )
 v.                                                 )    Case No. 4:06-CR-4
                                                    )
                                                    )    Chief Judge Collier
 CHRIS ROBINSON                                     )
                                                    )


                                   MEMORANDUM & ORDER

         Before the Court is a motion in limine (Court File No. 245) filed by Defendant Chris

 Robinson (“Defendant”) seeking to exclude any evidence introduced by a co-conspirator,

 particularly any written documentation. Defendant bases his motion in limine on Federal Rule of

 Evidence 403 (“Rule 403") and argues the written statement should be excluded because of its

 prejudicial nature. The government has not filed a response to the motion. For the reasons set forth

 more completely herein, the Court GRANTS IN PART and DENIES IN PART Defendant’s

 motion.

         Under Rule 403, relevant evidence “may be excluded if its probative value is substantially

 outweighed by the danger of unfair prejudice, confusion of the issues, or misleading the jury.” “The

 prejudice to be weighed is the unfair prejudice caused by admission of the evidence. Evidence that

 is prejudicial only in the sense that it paints the defendant in a bad light is not unfairly prejudicial

 pursuant to Rule 403.” United States v. Chambers, 441 F.3d 438, 456 (6th Cir. 2006).

         At issue in this motion is a communication between Defendant and a co-defendant, Juan

 Valentin, while in jail. The statements made by Defendant are admissible as an admission by party-

 opponent. See generally Fed. Rule Ev. 801(d)(2)(A); United States v. Payne, 437 F.3d 540, 547 (6th



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 Cir. 2006). As an admission, the written statement certainly has probative value to the issues in this

 case and that probative value is not substantially outweighed by unfair prejudice. Thus, the written

 statement made by Defendant is admissible. The portion of the communication written by co-

 defendant Valentin, however, cannot be characterized as an admission. After reading the contents

 of both writings, the Court finds the contents of the Valentin communication are not necessary to

 understand the context of Defendant’s communication. As such, the part of the communication

 written by co-defendant Valentin is inadmissible. However, the Court will give the government the

 opportunity to argue the admissibility of co-defendant Valentin’s communication at trial.

        Therefore, the Court GRANTS IN PART Defendant’s motion in limine in so far as the

 above analysis finds co-defendant Valentin’s written communication inadmissable and DENIES the

 remainder of Defendant’s motion in limine as it pertains to Defendant’s written communication.


        SO ORDERED.

        ENTER:

                                                /s/
                                                CURTIS L. COLLIER
                                                CHIEF UNITED STATES DISTRICT JUDGE




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